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                                                                          #:7959



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                                         Beyond Blond Productions, LLC
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                                    10                         UNITED STATES DISTRICT COURT
                                                              CENTRAL DISTRICT OF CALIFORNIA
                                    11
                                    12   BEYOND BLOND PRODUCTIONS, LLC, CASE NO.: 2:20-cv-05581 DSF (GJSx)
                                         a California limited liability company;
333 South Hope Street, Suite 4025




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  MILORD LAW GROUP, PC




                                                                                 Honorable Dale S. Fischer
     Los Angeles, CA 90071
         (310) 226-7878




                                    14                 Plaintiff,
                                    15                                           BEYOND BLOND PROUDCTIONS,
                                                       vs.                       LLC’S STATEMENT IN RESPONSE
                                    16                                           TO ORDER [DKT. 433] RE MOTION
                                    17   EDWARD HELDMAN III, an individual;      FOR REVIEW OF MAGISTRATE
                                         COMEDYMX, INC., a Nevada corporation; JUDGE’S ORDER
                                    18
                                         COMEDYMX, LLC, a Delaware limited
                                    19   liability company; and DOES 1-10;       Discovery Cutoff:       06/02/2025
                                    20
                                                                                 Final Pretrial Conf.:   09/29/2025
                                                     Defendants.                 Jury Trial:            10/28/2025
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                                             BEYOND BLOND’S STATEMENT IN RESPONSE TO ORDER [DKT. 433] RE MOTION FOR REVIEW OF
                                                                       MAGISTRATE JUDGE’S ORDER
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                                     1         Plaintiff respectfully informs the Court that despite the recent order granting
                                     2   terminating sanctions (Dkt. 431), Plaintiff continues to seek affirmance of Magistrate
                                     3   Judge Standish’s discovery order (Dkt. 411). The communications subject to that order
                                     4   are essential to fully establish Defendant Heldman’s scienter under 17 U.S.C. § 512(f)
                                     5   and to adequately substantiate Plaintiff’s forthcoming motion for default judgment.
                                     6   Accordingly, Plaintiff respectfully requests that the Court affirm Magistrate Judge
                                     7   Standish’s discovery order and require Mandour & Associates, APC, to comply with the
                                     8   production of its communications with Defendant Heldman.
                                     9
                                    10   Dated: April 21, 2025           Respectfully submitted,
                                    11                                   MILORD LAW GROUP, P.C.
                                    12                                   By: /s/ Milord A. Keshishian
333 South Hope Street, Suite 4025




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                                             BEYOND BLOND’S STATEMENT IN RESPONSE TO ORDER [DKT. 433] RE MOTION FOR REVIEW OF
                                                                       MAGISTRATE JUDGE’S ORDER
